                  Case 5:06-cv-06970-JF Document 41 Filed 09/13/07 Page 1 of 2



 1                                                                          **E-Filed 9/13/2007**
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 7                                               NOT FOR CITATION
 8                             IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                           SAN JOSE DIVISION
11
12    ELENA KAYRYAKOFF,                                         Case Number C 06-6970 JF

13                                  Plaintiff,                  JUDGMENT1

14                        v.

15    LANGER, et al.,

16                                  Defendants.

17
18
             Having given Plaintiff Elena Kayryakoff adequate opportunity to appear and show cause
19
     why her case should not dismissed based on her inability to amend her complaint or to effect
20
     proper service on any of the Defendants, IT IS HEREBY ORDERED, DECREED, AND
21
     ADJUDGED that the instant action is dismissed without prejudice pursuant to Fed. R. Civ. P.
22
     41(b). Judgment is entered in favor of the Defendants and shall constitute a final judgment.
23
     IT IS SO ORDERED.
24
25   DATED: September 13, 2007

26                                                           JEREMY FOGEL
                                                             United States District Judge
27
28           1
                 This disposition is not designated for publication and may not be cited.

     Case No. C 06-6970 JF
     JUDGMENT
     (JFLC3)
                 Case 5:06-cv-06970-JF Document 41 Filed 09/13/07 Page 2 of 2



 1   This Order has been served upon the following persons:
 2   Claire T. Cormier       claire.cormier@usdoj.gov
 3
 4   Notice has been delivered by other means to:
 5   Elena Kayryakoff
     PO Box 162
 6   Santa Clara, CA 95052
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     Case No. C 06-6970 JF
     JUDGMENT
     (JFLC3)
